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16                                  UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN FRANCISCO DIVISION

19   IN RE SEAGATE TECHNOLOGY LLC                         No. 3:16-cv-00523-JCS
     LITIGATION
20                                                        ADMINISTRATIVE MOTION TO FILE
                                                          UNDER SEAL
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 1            Plaintiffs bring this administrative motion pursuant to Civil Local Rule 7-11 and 79-5, to file

 2   under seal portion of Plaintiffs’ Reply in Support of Renewed Motion for Class Certification

 3   (“Reply”) because it contains information designated by defendants as “Confidential,” or “ Highly

 4   Confidential – Attorneys’ Eyes Only” under the Stipulated Protective Order (“Protective Order”) in

 5   place in this action.1 The Protective Order in this action requires that information designated as

 6   confidential “qualify for protection under Federal Rule of Civil Procedure 26(c).”2 In turn, under

 7   Rule 26(c), a Court may require “that a trade secret or other confidential research, development, or

 8   commercial information not be revealed or be revealed only in a specified way.”3

 9            These cases involve the rights of thousands of consumers and businesses across the country –

10   people and entities that should have the ability to see the issues being litigated in this case. The

11   information contained in the Reply are exactly the type of information that should be available for

12   the public to review. Pursuant to the Protective Order and Civil Local Rule 79-5(d), the designating

13   party must now demonstrate that the designated information is sealable or must withdraw the

14   designation of confidentiality.

15   DATED: December 10, 2018                         HAGENS BERMAN SOBOL SHAPIRO LLP

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         1
              Stipulated Protective Order, July 8, 2016, ECF No. 61.
27       2
              Id., ¶ 2.4.
28       3
              Fed. R. Civ. P. 26(c)(1)(G).
     ADMIN. MOT. TO SEAL - No.: 3:16-cv-00523-JCS
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       Case 3:16-cv-00523-JCS            Document 194         Filed 12/10/18     Page 3 of 3




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